Case 1:04-cr-20872-DLG Document 7 Entered on FLSD Docket 12/08/2004 Page’ oj 11

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

Kenneth R. West, *
IN RE: Cristian Noel Iglesias
Sui Juris *
v. * CASE NO.: 04-20872-cr-Graham
United States of America, *
Respondents. ‘k
*

COMES NOW, Kenneth R.West,Sui Juris, to present before the
UNITED STATES DISTRICT COURT OF THE SOUTHERN DISTRICT OF FLORIDA,
Affiants Specific Negative Averment and Affiants Bill of Peace.
In accordance with rule 9 (a) of the FED.R. Civ. P.

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Xl 7. cbt A he il: lw

Kehneth R. West;Cristian Noel Iglesias

J
D

~~ COPY CERTIFICATION BY DOCUMENT CUSTODIAN

STATE OF: South Carolina }

} SS. f
COUNTY OF Hampton :
I. Cristi i . hereby swear (or affirm) that the attached reproduction “
of Affidavit of Specific Negative Averment are true. correct and se ¥
photocopies of the document(s) in my Pe cv \

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Address &

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Subscribed andfS wor fo (or affiymed) é

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% Though law does not require the information in this section, it may prové vdiuable to persons relying on the
y documents and could prevent fraudulent removal and reattachment of this form to another documents. s
Description of Attached Document(s) %

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Title or Type of document(s): »

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Document(s) date:11/29/04 Identifying number: N/A No. Of page __ ¢

‘

‘Issuing Agency: Pliniff- :

&
” . . . %
@ Capacity Claimed by Custodian
$ °
‘ Vj RIGHT THUMPRINT °
[x] Individual OF CUSTODIAN ‘
; L_] Corporate Officer-Title:
; [_] University or School Officer- Title: TOP Os THUMB MERE &

[_] Governmental Officer or Agent — Title:
[_] Business proprietor or Manager

LJ Attorney

[] Trustee

L_] Other:

Custodian is representinOriginal Copy Affidavit of

Specific Negative Averment

_ Case 1:04-cr-20872-DLG Document 7 Entered on FLSD Docket 12/08/2004 Page 3 of 11

hfbidand of Specht: A egutiue decree

Cristian Noel Iglesias ¢

>

Cre lieing, sentiont, frec-uill. natural man Erwan as
fewinafler “Cue” acting with rights granted by life and upheld by all valid and just law declares
and attcsts that the {ollowing facts we tue, correct, and complete te the best af Cne’s knowledge
and if aecoud udth Cne’s deeply field spirituck comictians and ciced ve Ged Almighty.

Cue issues this Affidauit of Specific Negative Cueiment, ficreinafter “Affidauit”, Cn the
basis that each and cucry party acting against Cae in any manner purports te be acting im an
official capacity.

Cne denies that any of the belou-named, and unproved beings | entities | persons!
corporations | assaciations | tussts | unincorporwted associations | limited partaciships | whatever
exists, is satvent, fas capacity te sue and be sued, can appear in court, and is in bana fide,
eaforceable contract with any alleged poviy.

Cristian Noel Iglesias © post Office Box 699 -
Estill, SC 29918-0699

UNITED STATES DISTRICT FUDGE: Graham

UNTTED STATES ATTORNEY: Marcos D. Jimenez

UNTTED STATES ASSISTANCE ATTORNEY: John Schlesinger

UNITED STATES DISTRICT COURT.Southern District of Florida (Miami Division)

UNITED STATES FEDERAL BUREAU OF PRISONS.
THE GOVERNMENT OF THE UNITED STATES.
UNITED STATES GOVERNMENT.

CS. GOVERNMENT

US GOVERNMENT

STATE BAR OF Florida

ALI. BAR ASSOCIATIONS

ALL SUB-AGENCTES AND DIVISIONS OF ALL THE ABOVE ENTERIES.

etn + Yom
PSagetof 4 Secured Saty Cristian N.. Iglesias
Case 1:04-cr-20872-DLG Document 7 Entered on FLSD Docket 12/08/2004 Page 4 of 11

dis pute mish be accurately etl begat

She coucet pardics comeouing aig alleged
identified and present in court in ander fox ang prececding te commence, Masmuch a’ atheusise
ambiguity puuails and na way exists ta kuaw adie is involved udth when, haw, aud ushiy,
xendering and such prceeding, aid all matters cannected therewith and poaining theret« veid far
wagiceness as pet 46 OmFur 2d. Judgments.

ICC. Parties. “A judgment should identify the parties for and against whom it is
rendered, with such cedainty that it may be icadily enfureed, and a judgment which
docs net de se may be regarded as wid fox uncertainty ....”

This Affidavit canstitutes a“ Specific Negative Cueunent™ in accordance usith Federal
Rules of Civil Procedures Rube 9 (a) w alleged “ UNITED STATES INDICTMENT “, case
number #,04-CR~-20872 .  Gikegedly ineskuing some uadefined and
unprned beings | entitics | pexsons | corparations | asseciations | tursts | limited partnerships |
unincerported asseciation | whatever refewiced us “UNITED STATES OF AMERICA”
fewinafie: Fictional Agency, “CLAIMANT,” Hereinafter Fictional Claimant”, and

KENNETH R.WEST _ hereinafter Fictional Debtex’”’, utexeby Cre
declares and asserts absolutely that:

1. None of the abeve-enumeiated all-capital-letier assemblages of letters caists and is
satvent.

2. Cne is none of the said all-capital-etter assemblages of letters, iv. net Fictional
gency, not Fictienal Claimant, and net Fictional defendant, and is thevefere a nan-
pody te UNITED STATES INDICTMENT AND JUDGMENT. IN CRIMINAL
CASE : 04-cR-20872

3. Cne’s tue name is Cristian Noel Iglesias © and net

KENNETH R, WEST

4. Cne’s rank io that of untimited-tiability, living, sentient being with all absolute,
unalienalile rights, and power te upheld said rights, intact.

3. One's standing in lau: is that of a sovereign inhabitant on the sail of the Cand
commanty referenced as “ De jure state Florida , Republic.”

6. Alb assertions that Cue is a party te any proceeding concexning “ UNITED STATES
INDICTMENT. JUDGMENT IN CRIMINAL CASE. # 04-CR-20872

Are null and void and af na fexce and effect ak initia.

7, UNITED STATES INDICTMENT AND JUDGMENT IN CRIMINAL CASE: #
04-CR-20872 , Must be abated ab. initia.

8. Fictional Agency and Fictional Claimant de net possess, and can never possess,
jurisdiction over (ne, nor Cne's properdy, nor Cne’o rights, and the issue of
jurisdiction cannot be waiued.
9. The record must be corrected xe this matter immediately.
é colic * r UX os lans

Secured pavty-Cristian N. Iglesias

Page 2 of 4
Case 1:04-cr-20872-DLG Document 7 Entered on FLSD Docket 12/08/2004 Page 5 of 11

SS TOT ULLE PGA? UES CEC? Ga STOP Pe MONEE UR Pui ARNG Agent any OP CRE oS

rights and prcpedy ii any mua w this matte.

Cay met ox uunan desixing te whut this Affidavit and disprove the negate aveunerts
asserted fercin must ehul in the mannaex of this Uffidawit in the sespanding party's oun
handuniting, using Chiustian name for signature, executed tue, covmect, and complete ard
mctardczed, in xed inh, ant mal ta the below rnaned nelay pubic
Juliette Moore a 100 Prison Road

,ctyEstill _, State ofSouth Carolina _, Zip 29918 , within ten (IC)
days of receipt ar be in default heveof. Said defeat establishes an the vecerd the confession and
consent af judgment ly cuery man and waman acting aducisely cancernitig Enc in ang manne that:

1. Nene of the all-capital-letter beings | entities | persaes | tussts | corporations |
associations | unincarporations assaciations| limited partrerstips | whatever
refercnced hewin exists, is solvent, possesses “capacity”, te sue and be sued...
ox suc and be sued in a wpresentative capacity, and can appear in court te this
instant matter, uhewhy, UNITED STATES INDICTMENT. CASE

04-CR-20872 , dees not exist al intite and Fictional Agency
fas ne jurisdiction aver the non-existent cause, the non-existent parties, and the
non-existent thing.

2. Any man or woman whe is in default hereof wha continues ta act against One
in any manner is acting illegally, without autherity, in private capacity, and in
the complete absence of all jurisdiction.

3. One is fully authorized to enpley any and all just and lawful means of
nemedy and recowwse concerning action against One by any party wha admits
and confesses by default te be devsid of all right, authority, and official
immunity,
The undersigned affiant, Ccistian Noel Iglesias © ie. “Cue” does
fieremith assent and declare on One's untimited lialitity that Cue issues this Affidavit of
Specific negative Cucument with sincere intent, that Cne is competent te state the matters act fourth
fiexein, that the contents ave ture, comect, and complete in accordance with Onc’s knowledge,
understanding, and sincerely held spiritual convictions and ced.

Cristian Noel Iglesias ©
a Pint full name fo /

“ ow fi
Co the Me pate {I ECLC Lec
vO Signatune

Signature

/

Sn
C itplles {> . J oftwies

Page 3af4t Secured Paty Cristian N. Iglesias

_Case 1:04-cr-20872-DLG Document 7 Entered on FLSD Docket 12/08/2004 Page 6 of 11

pecud.
De jure State: South Carolina _.)}
}  &S,
County of Hampton
| .
Subscribed and suoy/td at Federal Correctional Insti Pifore mc this

BE, day of When bp 2, 2004

YUL

boatuhud Hf Notary pukdic

¢ | lle Le yl tew

Sage I of 4 Secured paxtyLristian N. Iglesias
Case 1:04-cr-20872-DLG Document 7 Entered on FLSD Docket 12/08/2004 Page 7 of 11

State of South Carolina. )

County of Hampton.

On we. ees. before me Wed, Kf Notary Public, personally

appeared _ personal Aly kndwn
af op to me to be the person whose name is subscribed to
the within instrument and acknowledged to me that
he executed the same in his authorized capacity. and
that by his signature on the instrument the person or
entry upon behalf of which the person acted,

executed the insefument.

i fi <p ,
Signature of , Notary i
em ot_flee® (Mr bach . Commission Expires

Place notary stamp above J
- ant. 20, 2
OPTIONAL oto
Though law does not require the information in this section, it may prove valuable to persons relying on the
documents and could prevent fraudulent removal and reattachment of this form to another document.

Description of Attached Document (s)

Title or Type of Document (s): Affidavit Bill of Peace

Document (s) Date: 11] {29/04 Identifying Number: None

Number of pages: 3

Issuing Agency: Cestian N. I ‘'glesias - Plamtuff / Petitioner.

Capacity Claimed by Issuer

M Individual RIGHT THUMPRINT
O Corporate Officer - Title: oF ISSUER

1 University or School Officer - Title:

0 Government Officer or Agent - Title: es
(J Business Proprietor or Manager z

0 Attorney ;

1 Trustee

0) Other:

Secured PartyCristian N. Iglesias,

me

oe
Case 1:04-cr-20872-DLG Document 7 Entered on FLSD Docket 12/08/2004 Page 8 of 11
ffidaul - BE of Seace

One living, sevticat, fuce-will, natuael man, hacen asCristian N. Iglesias __.
Hereinafter “Cre”, acting in untimited-liakhity capacity uuth sights guanted by life and upheld ty
ali valid end just Cau, declaws and attests true, corsect, and complete, in accordance auth Cnc’s
deeply ficld spiritual comictions and ceced, that Cre is net an eneny of:

}. Life, Ged, the aw of bcing, natural (au, truth, love, good udlf peace, deinal
veutics, sanity, and the highest univasat punciptics of mankind.

2. GU rights of the sovereign peapte living on the soil af the land commanty
ufewcd as" De gure stile Plorida ” Secuned by life. just fue,
the Constitution of the United States, 1757, the Bik e{ Rights, 1791, the
Constitution of the De jure state Florida , 1849 , and

athexwise.

3. She universal rights of man.

4. Seaple of goad will cvenpohere.

Cne claims all sovereignty, unaticnable rights and power te exercise said rights,
innate in Cne’s life as secured and guaranteed by the De Jure Constitution of the
United States, 1787, and First ten Articles of Amendment, 1797, “BitE of
Rights”.

Cne extends te Marcos D. Jimenez LINITED STATES
ATTORNEY and John Schlesinger . ASSISTANCE
UNITED STATES ATTORXNEY, jointly and severally hereinafter veferred as

“Respondent” and every other living being alleging invelvement with so-called
“UNITED STATES INDICTMENT CASE #04-CR-20872
Ulkegedly. bearing inucluement with seme undefined and unproved being |
entities { persans | caxrparations | tussts | limited paxtnewhips | acsaciations |
unincorporated associations | whatever refeved Marco D. Jimenez
UNITED STATES ATTORNEY a3 Jonn Schle singer :
ASSISTANCE UNITED = STATES — ATTORNEY,"an “STATE
OF lorida “@ covenant and creed of peace and
good will and mutual agreement ta respect the life, rights, dignity, {xeedom, and
prupeity of Cue, Respandent, and all peeple.

Respondent, and everyone desiring te contract with Cne as herein, possesses
tua (2) aptions re this Affidavit Bill af Peace:

1. Netarize and sign below in red ink untimited-liability capacity, using
Respondent's Christian name for signature, signifying contractual aguement to
the sentiments and intent af Cne as expressed herein:

2. Sail to sign, natarize, and return this Uffidauit Bill of Peace and thereky
declare under eath that Respandent is an enemy of Cnc and the United states
of America and the people, Constitution, and Goseinment thereof. ~
ye . ) (cw low
C (la koe
Pagelef 3 Scaned party:Cristian N _. Iglesias
Case 1:04-cr-20872-DLG Document 7 Entered on FLSD Docket 12/08/2004 Page 9 of 11
* Ga pee the phe ba . -

me er pended must execute ics Offidauil, te. BU of Feace.
the tua (2) designatkd cptions abeve and mail ta the feloucnamed meters

pullic:Juliette Moore _ Odduess:
100 Prison Road . Gly: Estill | , State:

South Caroling _, aip: 2991.8—-- Within ter (7C) calendar days
of Respondent's receipt af this Bill of Peace. Nan-xespanse by the rez pendent,
as well as any respense of any find whatsoener other than receipt ty notary
public, Juliette Moore __, Subbic of this Affidavit BLE of
Peace with respondent’s exiginal netariced signature therean in ved ink,
estatkishes un the record respondent’s confession and consent af judgment under
oath that respondent stipulates that:

I. Respondent is acting ia accandance udth the secand of the tue (2) abave-
designated options unde alleged “authority” of some War Sauer, such as the
Snading With The Evemy Act of Cctaber 6, 1917 as amended on March 9,
1933, codified in 12 USC 95, ushich is the ‘Lau af Necessity”, ie. “Law Cf Fhe
jungle” ie.“ No Law.”

2. Cny action of any kind by anyone against Cre ve this instant matter hewafter
constitutes a deliberate act of war against One, the United States of America
and the government and peaple thereaf, and teasun against the constitution of
the United States , 1787.

3. Respandent is eperating en alleged authaty of a letter of marquee and
reprisal issued by an undisclased party.

4. Any paper, notices, subpoenas, and the like which One might receive hereafter
ane of no legal farce and effect due te being hostile acts of aggressian, and Cre.
can legally and lawfully disregard all of said papeuvork without legal
possibility for reprisal under the principle canucyed in and by the Fifth
Cmendment to the Constitute of the United States, 1787. Bit of Rights, 1797,
and buch established maxims of tau as:

e No one is bound te aun his advewary against himself, Wing, Max. 665.
¢ Na man is bound ta produce unitings against himscl{, Bill Direct.

° Ne one is fiaund te accuse Rimself, Wing, Max. $$6:74 MAU. 286:107
Msaad$).

3. Ma valid enforwement, and bona fide cantiact between One and Respondent is
pessifile due ta the duress, fraud, menace, and undue influcnce inherent ia
Respandent’s aggression, non-disckosurc, and acts of war against Cne and

Cne’s Country.

6. AE commercial intercourse fetuwen enemies is both prohibited and cannat be
made alligators betucen Cue and espondent.
» Nylenas
( ibn \ : d y CA

Secured party:Cristian N. Iglesias

Page 2 af S$
Case 1:04-cr-20872-DLG Document 7 Entered on FLSD Docket 12/08/2004 Page 10 of 11

i. One is authorized to ledge Cac's complaint with the mildary of te United
Staics aad the Ud Court far war cainics agaiast indigenous peaple and

fuunanity.

Cre herewith declares and asseits an One's unlimited Gakility that Cue issues this Affidauit
Bill of Peace with sincere intent, that Cne is competent te state the matters set fadh herein, that the
contents are ture, correct, and complete, nel misleading, and the tiuth, Uc uthiele tuuth, and nothing
but the tuuth te the best ef Cne’s knaudedgc, understanding, and deeply held spixitual conviction:

and cxeed.,

Cristian N. Iglesias. |
 Arint Full Name /
. - I A ao

~

De Jure State, South Carolina,

}
) SS.
)

County of, Hampton

7 cy ‘
— teshicr Mi Og foolas

Page3of 3 Secured paxty:Cristian N. Iglesias
Case 1:04-cr-20872-DLG Document 7 Entered on FLSD Docket 12/08/2004 Page 11 of 11

CERTIFICATE OF SERVICE

I HEREBY CERTIFY, That a true and correct copy of the foregoing
“AFFIANTS SPECIFIC NEGATIVE AVERMENT AND AFFIANTS BILL OF PEACE"

has been provided VIA United States mail to: United States District
Court, the Honorable Donald L. GRAHAM, Southern District of Florda,
Federal Courthouse Square, 301 North Miami Avenue, Florida 33128-
7788. And also to: United States Attorney's Office, SOuthern District
of Florida, Assistant United States Attorney, John SCHLESINGER, 99 N.E.
4th Street, Miami, Florida 33132, this-x«d day of pxecember 2004.

CASE NUMBER 04-cr-20872

Kenneth Ray West : Cristian Noel Iglesias
Fed. Reg. No. 17248-018

Federal Correctional Institution
Post Office Box 699

Estill, South Carolina 29918-0699

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cant 4 ky) © Cetal

